Filed 8/23/24 Wright v. Wright CA2/1
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION ONE


 PHILIP SPENCER WRIGHT,                                               B330901

           Respondent,                                                (Los Angeles County
                                                                      Super. Ct. No. 19STFL03890)
           v.

 IULIIA PLATOKHINA WRIGHT,

           Appellant;

 OLEG VOLKOV,

           Objector and Appellant.


     APPEAL from orders of the Superior Court of Los Angeles
County, Wendy L. Wilcox, Judge. Reversed.
     Oleg Volkov, in pro per., for Objector and Appellant, and for
Appellant Iuliia Platokhina Wright.
     Larson, Stephen G. Larson, Andrew J. Bedigian and
Kimberly E. Wilkinson for Respondent.
                  ____________________________
       Iuliia Platokhina Wright and her counsel, Oleg Volkov,
appeal from orders imposing sanctions and disqualifying Volkov
from further representation in a dissolution action between Iuliia
and Philip Wright.1 The court awarded monetary sanctions
against Volkov and struck a fees request Volkov filed on behalf of
Iuliia that Philip contended was meritless, excessive, and
harassing. The court disqualified Volkov after concluding he had
an improper contingency fee arrangement with Iuliia.
       Our review of the family court’s ruling indicates the family
court relied in large part on an improper basis for awarding
sanctions, specifically the excessive nature of Iuliia’s response to
Philip’s sanctions motion itself for which Iulia and Volkov did not
receive notice or the required safe harbor to withdraw that
response. Accordingly, we reverse the order granting monetary
sanctions against Volkov and striking Iuliia’s fees request.
       We further hold the evidence did not support a finding of a
contingency fee arrangement between Iuliia and her counsel. We
therefore reverse the disqualification order.

                         BACKGROUND
      Philip and Iuliia married in February 2019 and separated
18 days later. They had no children, no community property, and
the court did not order spousal support.

1.    Earlier sanctions order
      Although not at issue in this appeal, we briefly summarize
the proceedings concerning an earlier sanctions order against
Volkov.

      1  Because the parties share a last name, we refer to them
by their first names. No disrespect is intended.




                                    2
       On March 3, 2022, the same court awarded Philip
prevailing party fees under Family Code section 6344. On
April 18, 2022, Iuliia appealed from the fees award. On
August 31, 2022, while her appeal was pending, Iuliia filed a
request to vacate or set aside the March 3 fees award.
       On October 21, 2022, Philip moved for sanctions against
Volkov under Code of Civil Procedure section 128.7. Philip
argued Iuliia’s August 31, 2022 request to set aside the fees
award was untimely, without merit, and the family law court had
no jurisdiction to grant the request because of the pending
appeal. Philip contended Iuliia’s request was filed for the
improper purposes of harassing Philip and Philip’s counsel,
increasing litigation costs, and obtaining more attorney fees from
Philip.
       Following a hearing, the court granted Philip’s sanctions
motion on December 5, 2022. The court first found Iuliia had not
withdrawn her set-aside request either during or after the
statutory 21-day safe harbor period.2 On the merits, the court
noted Iuliia conceded in her papers that the court had no
jurisdiction given the pending appeal, yet Iuliia, despite knowing
this, had not withdrawn her set-aside request. The court found
this was objectively unreasonable conduct on the part of Volkov.



      2  Iuliia filed a document purporting to withdraw her set-
aside request, but the court observed Iuliia had never sought to
take the hearing on her request off-calendar. Further, in the
document purporting to withdraw the request, Iuliia continued to
seek to set aside the fees by making an “informal” request to do
so or asking the court to set aside the fees on the court’s own
motion.




                                   3
The court sanctioned Volkov $25,000 and struck Iuliia’s set-aside
request.3
      Iuliia appealed the sanctions order. Briefing in that appeal
currently is stayed pending the filing of a supplemental record.

2.    Sanctions and disqualification motions at issue in
      the instant appeal
       On January 10, 2023, Iuliia filed a motion seeking $225,900
in attorney fees from Philip under Family Code section 2030,
subdivision (a)(1) to cover past and future anticipated costs in
five pending appeals, including her appeal from the March 3,
2022 order awarding Philip attorney fees.4 In support, Iuliia
submitted a 10-page declaration attaching over 500 pages of
exhibits, and Volkov submitted a 19-page declaration attaching
more than 200 pages of exhibits. Iuliia also requested the court
take judicial notice of five sets of documents totaling over 1,500
pages.
       On March 13, 2023, Philip filed a sanctions motion against
Volkov under Code of Civil Procedure section 128.7 contending
Iuliia’s January 10 request for fees was filed for an improper
purpose. Philip argued Volkov “continues to relitigate the same
tired issues through voluminous, frivolous[ ] appeals and via
Iuliia’s instant [fees request],” which “is mainly presented for the
improper purpose of harassing Philip and churning fees.” Philip

      3  The sanctions order stated the monetary sanctions were
against both Iuliia and Volkov, but the court stated in a later
order its intent was to award sanctions against Volkov only.
      4  The January 10 motion is not in the record before us, but
we discern its content from memoranda of points and authorities
filed subsequently.




                                    4
complained, “Iuliia’s filings are incredibly dense, almost
impenetrably so, and filled with wide-ranging irrelevancies—
forcing Philip to incur substantial and unnecessary attorney fees
simply to try to make sense of them.”
       Philip acknowledged Family Code section 2030 authorizes
awards of attorney fees for proceedings related to the underlying
family law proceeding, but argued there was a public policy
exception when fee requests are used as a weapon for
harassment. Philip further argued Iuliia could not demonstrate a
need for the requested fees, the appeals for which she sought fees
had been brought in bad faith, and the “sheer volume and
objectionable form of” Iuliia’s filings “demonstrate Mr. Volkov’s
improper purpose of harassing Philip and needlessly increasing
Philip’s litigation costs.” Philip noted, in addition to the large
page count of documents included with Iuliia’s filings, the
memoranda and supporting declarations violated court rules and
contained too many lines per page with incorrect font size.
       Philip requested a sanction of $66,650, which he contended
represented the reasonable attorney fees incurred and
anticipated in responding to Iuliia’s fees request. Philip also
requested the court strike Iuliia’s fees request, in which case
Philip would seek a lesser monetary sanction of $48,690.
       In support of his sanctions motion, Philip submitted a
declaration from his counsel outlining the incurred and
anticipated attorney fees. Among the listed anticipated fees were
those that would be incurred to review and respond to Iuliia’s
opposition to Philip’s sanctions motion, and also to respond to
Iuliia’s fees request.
       Philip also filed a motion to disqualify Volkov as Iuliia’s
counsel. Philip argued Volkov by his own admission was not




                                   5
competent to represent Iuliia in a family law matter. Philip
further argued Volkov’s payment arrangement with Iuliia
constituted a contingency fee agreement, which is prohibited in a
dissolution action. In support, Philip quoted filings by Iuliia
stating Volkov had advanced most of the legal costs at risk of
delayed payment or nonpayment, which Philip argued indicated
Volkov had agreed to represent Iuliia with the expectation that
he only be paid should she prevail.

3.    Iuliia’s response to sanctions and disqualification
      motions
      Iuliia filed an opposition to the sanctions motion. She
argued that Philip had not provided advance notice of his
sanctions motion as required by the statutory safe harbor
provision. She further disputed that she could not demonstrate a
need for attorney fees or that her pending appeals were in any
way improper. She argued the public policy exception to Family
Code section 2030 did not apply when attorney fees were sought
for matters within the same proceeding as the dissolution action,
as opposed to different but related proceedings. Finally, she
argued Philip had not met his burden to show her fees request
and related filings were unjustified or irrelevant.
      In a separate filing, Iuliia opposed the motion to disqualify
counsel. Iuliia argued that Philip lacked standing to bring the
motion, that Volkov was competent, and that she did not have a
contingency fee arrangement with Volkov.
      Iuliia filed a declaration in support of her opposition to both
the sanctions motion and the disqualification motion attaching
over 500 pages of exhibits. Volkov also filed a supporting
declaration with about 20 pages of exhibits. Iuliia further
requested the court take judicial notice of the five sets of



                                     6
documents totaling over 1,500 pages for which she requested
judicial notice in her January 10 fees request.
      Iuliia additionally filed an objection to consideration of
Philip’s sanctions motion based on his failure to comply with the
statutory safe harbor requirement, again arguing Philip had not
provided advance notice of his sanctions motion, or alternatively
that service was improper. Iuliia cross-referenced a motion to
quash that she claimed further elaborated on her arguments—
that motion is not in the appellate record, but the court docket
indicates Iuliia filed a motion to quash service and supporting
declaration several days before she filed her opposition and
objection to the sanctions motion.
      In support of her objection based on the safe harbor
requirement, Iuliia filed a declaration from Volkov attaching an
eight-page exhibit list and over 500 pages of exhibits.
      On April 6, 2023, after Philip filed his replies in support of
his two motions, Iuliia filed a request for an evidentiary hearing
as to whether Philip properly served his sanctions motion and
complied with the statutory safe harbor requirement. That same
day, Iuliia filed a witness list that included Volkov, Philip’s
counsel and their staff, employees of a messenger service, and
post office employees, all of whom Iuliia stated would testify
regarding the issue of proper service.
      The next day, Iuliia filed objections to declarations of
Philip’s counsel in support of the sanctions motion and the reply.
      The day before the hearing on the sanctions and
disqualification motions, Iuliia filed an amended memorandum of
points and authorities in support of her January 10 request for
fees.




                                    7
4.    Court’s ruling
       At the April 11, 2023 hearing on the sanctions and
disqualification motions, the court began by summarizing the
content of Philip’s sanctions motion, including that it was
brought in response to Iuliia’s January 10, 2023 fees request and
that Philip contended the appeals for which Iuliia sought fees
were brought in bad faith and thus the fees request fell under the
public interest exception to Family Code section 2030. The court
further summarized Philip’s argument that the volume and form
of Iuliia’s filing demonstrated its improper purpose, in particular
the over 2,000 pages of material and Volkov’s failure to follow the
court’s formatting rules.
       The court then noted Iuliia’s 11 filings in response to the
sanctions motion, stating the filings “go[ ] into, for the most part,
an issue of service.” The court observed Philip in reply had
submitted proofs of service indicating Philip provided a copy of
his sanctions motion to Volkov more than 21 days before Philip
filed his motion with the court, which the court found satisfied
the statutory safe harbor requirement. The court further noted
Iuliia had not withdrawn her January 10, 2023 request for
attorney fees, which remained pending.
       The court denied Iuliia’s request for an evidentiary hearing,
finding her arguments regarding improper service not
persuasive. The court continued, “And it’s concerning how many
documents have been filed by the respondent with respect to this,
as I stated. It’s not appropriate necessarily to file some of this
after the reply brief. . . . And the number of filings with respect
to the responding to the request for order is excessive and looks
to be harassing.” The court stated its “tentative is to grant
[Philip’s] motion.”




                                     8
       Continuing with its oral tentative ruling, the court
addressed the reasonableness of Philip’s monetary sanctions
request. The court found, “[T]he number of documents that
[Philip] has had to respond to, like I said, it is excessive, and it
could be over 2,000 pages, considering that several documents
were filed just in the last week in order for us to be here today
and with respect to this hearing.” The court awarded $40,000 in
sanctions against Volkov, and struck Iuliia’s January 10, 2023
fees request. The court said to Volkov, “[T]he court has
sanctioned you. And now you’re being sanctioned again because
you’ve continued to file meritless papers, and you’re not adhering
to the court rules.” The court continued, “I have talked to you
previously about how you have cited cases and left out
information, which I don’t find appropriate. But we need to
address this because it’s continued to be excessive. And I find it,
as I stated, harassing.”
       Arguing against the tentative ruling, Volkov contested
Philip’s claim of proper service. The family law court noted
Volkov “obviously kn[e]w” about Philip’s sanctions motion as
indicated by the numerous filings in opposition. Volkov
responded he did not receive the sanctions motion in February as
Philip claimed, but rather in March when Philip filed it with the
court, the implication being that Philip did not comply with the
safe harbor requirements. The court stated, “You could have
withdrawn your January 10 [fees request] at any time, and you
still haven’t done it, have you?” Volkov agreed the fees request
was still pending.
       Turning to the merits of the sanctions motion, Volkov
argued Iuliia’s fees request was not improper because the appeals
for which she requested fees were related to the underlying




                                    9
dissolution proceedings. The court stated Volkov was “missing
the point” of Philip’s argument, which was not that the appeals
were unrelated to the dissolution proceedings, but that the public
policy exception barred Iuliia from seeking fees to which she
otherwise might be entitled. Volkov explained Iuliia’s filings
were “voluminous” in order to rebut falsehoods by Philip’s
counsel.
       After additional argument along the lines of that
summarized above, the court adopted its tentative ruling and
ordered Volkov to pay the $40,000 by September 29, 2023.
       After a recess, the court addressed Philip’s motion to
disqualify Volkov. Citing Kennedy v. Eldridge (2011)
201 Cal.App.4th 1197, the court found Philip had standing to
bring the disqualification motion, given the particular importance
of maintaining high standards of ethics in family law cases. The
court observed that the instant case, like Kennedy is “a very
highly contentious case” that “shockingly has gone on the way
that it has gone on over, at best, an 18-day marriage.”
       On the merits, the court concluded Volkov’s payment
arrangement with Iuliia, as indicated by Volkov in previous
hearings and filings, constituted a “contingency fee arrangement”
prohibited in dissolution proceedings. The court did not “come to
the conclusion of incompetency necessarily, although your papers
sound like they’re walking that line.” The court believed Volkov
was “cutting and pasting from cases and dumping them in your
papers without understanding what the case is about.”
       After allowing Volkov to respond to these arguments, the
court announced it would grant the motion to disqualify. The
minute orders from the hearing note the court adopted its oral
tentative ruling but provide no additional information.




                                  10
      Iuliia timely appealed. After she filed her opening brief,
Philip filed a response stating he took no position on Iuliia’s
arguments.

                          DISCUSSION

A.    The Court Improperly Based the Sanctions Order on
      Appellants’ Response to the Sanctions Motion
      Appellants challenge the sanctions order on three bases,
contending 1) the court erred in finding Philip complied with the
statutory safe harbor requirements; 2) the court impermissibly
imposed sanctions based on appellants’ response to Philip’s
sanctions motion; and 3) Iuliia’s fees request and filings in
support were justified and thus the sanctions motion is without
merit. We agree with appellants’ second argument, and therefore
need not reach the others.

      1.    Relevant law and standard of review
       Code of Civil Procedure section 128.7 provides that when
an attorney signs and files “a pleading, petition, written notice of
motion, or other similar paper,” the attorney thereby certifies the
filing, inter alia, “is not being presented primarily for an
improper purpose, such as to harass or to cause unnecessary
delay or needless increase in the cost of litigation,” and “[t]he
claims, defenses, and other legal contentions therein are
warranted by existing law or by a nonfrivolous argument for the
extension, modification, or reversal of existing law or the
establishment of new law.” (Code Civ. Proc., § 128.7,
subds. (b)(1), (2).) A court may impose monetary and
nonmonetary sanctions for violations of this provision after notice
and reasonable opportunity to respond. (Id., subds. (c), (d).)




                                   11
Before a court may impose sanctions pursuant to a motion under
section 128.7, the statute requires that the nonmoving party have
at least 21 days’ notice of the intended motion before the
scheduled hearing “during which [period] a party may avoid
sanctions by withdrawing the offending pleading or other
document.” (Bucur v. Ahmad (2016) 244 Cal.App.4th 175, 190
(Bucur); Code Civ. Proc., § 128.7, subd. (c)(1).)
      Further, “when imposing sanctions, the court shall describe
the conduct determined to constitute a violation of this section
and explain the basis for the sanction imposed.” (Code Civ. Proc.,
§ 128.7, subd. (e).)
      “We review a section 128.7 sanctions award under the
abuse of discretion standard. [Citation.] We presume the trial
court’s order is correct and do not substitute our judgment for
that of the trial court. [Citation.] To be entitled to relief on
appeal, the court’s action must be sufficiently grave to amount to
a manifest miscarriage of justice.” (Bucur, supra,
244 Cal.App.4th at p. 190.)

      2.    Analysis
       Appellants contend the only explanation the court gave for
the sanctions was, “[T]he number of filings with respect to the
responding to the request for order is excessive and looks to be
harassing.” Appellants interpret this statement to refer not to
Iuliia’s fees request that prompted the sanctions motion, but
rather appellants’ response to the sanctions motion. Appellants
contend their response to the sanctions motion itself could not
support an award of sanctions because they had not received
notice that their response was subject to sanctions nor given a
safe harbor period in which to withdraw their response.




                                  12
      We agree with appellants that their response to Philip’s
sanctions motion could not itself support an award of sanctions,
at least until and unless Philip filed another sanctions motion
directed at the response, or the court issued an order to show
cause (OSC) on that basis. Absent a separate sanctions motion or
an OSC, appellants had no notice that their response to the
sanctions motion would be subject to sanctions, nor were they
given the required statutory safe harbor period within which to
withdraw or modify their response.
      The only conduct for which appellants arguably had
received adequate notice of sanctions and the required safe
harbor period was Iuliia’s January 10, 2023 fees request and
documents filed in support of that request. That request and its
supporting documents were the target of Philip’s sanctions
motion, and the sole basis on which the court could award
sanctions at the April 11, 2023 hearing (assuming proper service,
an issue we do not reach).
      We further agree with appellants that the court’s
statements at the hearing indicate the court improperly relied on
appellants’ response to the sanctions motion as a basis for
imposing sanctions. Immediately before stating its tentative
ruling granting the sanctions motion, the court stated, “And it’s
concerning how many documents have been filed by the
respondent with respect to this, as I stated. It’s not appropriate
necessarily to file some of this after the reply brief. . . . And the
number of filings with respect to the responding to the request for
order is excessive and looks to be harassing.”
      The reference to the “reply brief” is Philip’s reply to
appellants’ response to his sanctions motion, so the court was
admonishing appellants for filing additional documents in




                                    13
support of their opposition to the sanctions motion after Philip
had already replied. The court then referred to the “excessive”
“filings with respect to the responding to the request for order.”
We discern that the “request for order” refers to Philip’s sanctions
motion, the only request for order to which appellants filed a
response. Although Iuliia’s January 10, 2023 fees request could
also be considered a “request for order,” that cannot be what the
family law court was referring to, because appellants did not
respond to their own request for order.
       Later, the family law court stated, “[T]he number of
documents that [Philip] has had to respond to, like I said, it is
excessive, and it could be over 2,000 pages, considering that
several documents were filed just in the last week in order for us
to be here today and with respect to this hearing.” Again, the
“several documents” filed “in the last week” “with respect to this
hearing” must refer to appellants’ additional documents in
support of their opposition, including their request for an
evidentiary hearing, witness list, and two sets of objections to
declarations filed by Philip’s counsel in support of the sanctions
motion.
       Because the court based its sanctions order in large part on
appellants’ response to the sanctions motion, grounds for which
appellants had not received adequate notice and safe harbor
warning, we reverse the monetary sanctions against Volkov and
the sanction of dismissal of Iuliia’s January 10, 2023 fees request.

B.    The Court Abused Its Discretion In Concluding That
      Iuliia had a Contingency Fee Agreement With
      Counsel
     Appellants argue Philip did not have standing to move to
disqualify Iuliia’s counsel Volkov, and further argue the family



                                   14
law court abused its discretion in concluding Iuliia and Volkov
had an impermissible contingency fee agreement justifying
disqualification. “ ‘Generally, a trial court’s decision on a
disqualification motion is reviewed for abuse of discretion.
[Citations.]’ [Citation.]” (Great Lakes Construction, Inc. v.
Burman (2010) 186 Cal.App.4th 1347, 1354.) We review de novo
whether a party has standing to bring such a motion. (See Blue
Water Sunset, LLC v. Markowitz (2011) 192 Cal.App.4th 477,
485.) Under these standards of review, we conclude Philip had
standing to bring his motion to disqualify Volkov, but the court
abused its discretion in finding Volkov had a contingency fee
agreement with Iuliia.5

      1.    Applicable law

            a.     Standing to bring disqualification motion
      “ ‘A “standing” requirement is implicit in disqualification
motions.’ [Citation.] A party moving to disqualify counsel must
have a legally cognizable interest that would be harmed by the
attorney’s conflict of interest.” (Moreci v. Scaffold Solutions, Inc.
(2021) 70 Cal.App.5th 425, 432.) Generally, standing is found
when there is a current or former attorney-client relationship
between the party seeking disqualification and the attorney
sought to be disqualified. (Ibid.) Some courts, however, “ ‘have
slightly broadened the scope of that general rule,’ holding that a

      5  As discussed in our Background section, Philip moved for
disqualification on two bases, incompetence and an improper
contingency fee agreement. The court granted disqualification
solely on the latter basis, stating it did not “come to the
conclusion of incompetency necessarily, although [Volkov’s]
papers sound like they’re walking that line.”




                                     15
nonclient may bring a disqualification motion based on an
attorney’s breach of a duty of confidentiality owed to the
nonclient.” (Ibid.) The moving party nonetheless “ ‘must meet
stringent standing requirements, that is, harm arising from a
legally cognizable interest which is concrete and particularized,
not hypothetical.’ [Citation.]” (Id. at p. 434.) The standing
requirement “ ‘protects against the strategic exploitation of the
rules of ethics and guards against improper use of
disqualification as a litigation tactic.’ [Citation.]” (Ibid.)

            b.     Prohibition on contingency fee arrangements in
                   dissolution proceedings
       Rules of Professional Conduct, rule 1.5(c)(1) prohibits an
attorney from agreeing to, charging, or collecting “any fee in a
family law matter, the payment or amount of which is contingent
upon the securing of a dissolution or declaration of nullity of a
marriage or upon the amount of spousal or child support, or
property settlement in lieu thereof.” Even prior to the adoption
of this rule, case law held contingency fee agreements in
dissolution actions were void as against public policy to the
extent such agreements promoted divorce by incentivizing
attorneys to discourage reconciliation between the parties. (See
Krieger v. Bulpitt (1953) 40 Cal.2d 97, 100.)

      2.    Analysis
      We conclude Philip had standing to bring his
disqualification motion based on a purported violation of Rules of
Professional Conduct, rule 1.5(c)(1). As discussed, one purpose of
that rule is to prevent attorneys in dissolution proceedings from
discouraging reconciliation. The parties to a dissolution action
have a legally cognizable interest in reconciliation, if possible, an




                                    16
interest that is potentially jeopardized if either party has a
contingency fee agreement with his or her counsel. Thus,
although Philip is neither a current nor former client of Volkov,
his interests are impacted if Volkov’s fee arrangement with Iuliia
impedes reconciliation.
       On the merits, however, we hold the evidence does not
support the court’s finding of a contingency fee agreement. In
arguing below that Iuliia and Volkov had such an arrangement,
Philip relied on a statement in Iuliia’s January 10, 2023 fees
request that Volkov had “advanced most of the legal costs, and
undertook the representation at the risk of delayed payment or
nonpayment.” Philip also relied on Iuliia’s income and expense
declaration filed June 21, 2022, which lists under “Attorney fees”
that Iuliia owed approximately $190,000 in fees, with a notation
stating, “not expected to be paid in full by Iuliia Wright.” Philip
argued, “[b]etween advancing costs, not expecting Iuliia to pay
fees, and only expecting payment if he prevails, Mr. Volkov
unquestionably has a contingency fee arrangement with Iuliia in
a family law matter.”
       At the disqualification hearing, the court concluded,
“[Volkov is] advancing the costs [of litigation], and [Volkov] may
get paid by the other side. And that is contingency. That’s a
contingency fee arrangement, which is prohibited here.” Later,
the court said, “[Volkov] think[s] that there is going to be this
payday by advancing these fees and continuing to litigate in the
way that [Volkov is] litigating, which sounds [like a] contingency
fee arrangement.”
       We disagree with the family law court that Philip’s cited
evidence demonstrates a contingency fee agreement. Under a
typical contingency fee arrangement, the client agrees that in the




                                   17
event counsel obtains a money judgment in the client’s favor, the
client will pay counsel a percentage or some other agreed-upon
portion of that judgment. (See Vapnek et al., Cal. Practice Guide:
Professional Responsibility &amp; Liability (The Rutter Group 2023)
Ch. 5-B, § 5.77 [“A contingent fee is any arrangement that ties
the attorney’s fee to some measure of the client’s success in the
matter. If the attorney is unsuccessful or there is no recovery,
the contingent fee is not payable.”]; Black’s Law Dict. (12th ed.
2024) p. 401, col. 2 [defining “contingent fee” as “[a] fee charged
for a lawyer’s services only if the lawsuit is successful or is
favorably settled out of court,” “usu[ally] calculated as a
percentage of the client’s net recovery”].)
       Philip below identified no evidence that Iuliia had agreed to
pay Volkov a percentage of any judgment in her favor, or that
Volkov’s payment was contingent on obtaining a particular
result. Rather, Philip quoted statements from Iuliia’s fees
request under Family Code section 2030, a provision which
“ensure[s] that each party has access to legal representation” by
empowering the family law court to “order[ ], if necessary based
on the income and needs assessments, one party . . . to pay to the
other party, or to the other party’s attorney, whatever amount is
reasonably necessary for attorney’s fees and for the cost of
maintaining or defending the proceeding during the pendency of
the proceeding.” (Fam. Code, § 2030, subd. (a)(1).) In other
words, Volkov was not seeking fees from Iuliia contingent on a
judgment in her favor, but fees from Philip, not contingent on any




                                   18
particular result but instead based on the court’s authority to
compel the one party to pay the attorney fees of the other party.6
       A party’s reliance on Family Code section 2030 to pay his or
her attorney is permissible under the Family Code. As a family
law treatise observed, provisions like Family Code section 2030
largely obviate the need for contingency fee arrangements in
dissolution proceedings. (See Hogoboom &amp; King, Cal. Practice
Guide: Family Law (The Rutter Group 2024) Ch. 1-E, § 1:253
[because the Family Code empowers court “to award attorney
fees and costs to a financially disadvantaged spouse,” “a
contingency fee arrangement is not needed to afford such clients
a parity of legal representation,” citing Fam. Code, §§ 2030–2032,
2255].) In short, the court erred in concluding Iuliia’s seeking
fees from Philip demonstrated a prohibited contingency fee
agreement, and thus erred in disqualifying Volkov.




      6 This is not to say Iuliia’s particular fees request had
merit, a question on which we express no opinion. We merely
note that her and Volkov’s reliance on Family Code section 2030
was not equivalent to a prohibited continency fee arrangement.




                                   19
                         DISPOSITION
      The sanctions order and the disqualification order are
reversed. Each party shall bear his or her costs on appeal.
      NOT TO BE PUBLISHED.



                                           BENDIX, J.

We concur:




             ROTHSCHILD, P. J.




             KELLEY, J.*




      * Judge of the San Luis Obispo County Superior Court,
assigned by the Chief Justice pursuant to article VI, section 6 of
the California Constitution.




                                   20
